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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK

LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                             August 04, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-30072     Anderson v. City of New Orleans
                       USDC No. 2:12-CV-859

The court has granted the unopposed motion of appellant City of
New Orleans to supplement the record with documents 1459-1464 in
this case. The originating court is requested to provide us with
a supplemental electronic record consisting of the documents
outlined in the attached motion.   Counsel is reminded that any
citations to these documents must cite to the supplemental
electronic record.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Mary C. Stewart, Deputy Clerk
                                  504-310-7694
Mr. Blake Joseph Arcuri
Mr. Theodore R. Carter III
Mr. Thomas Evans Chandler
Ms. Elizabeth Cumming
Mr. Patrick R Follette
Ms. Churita H. Hansell
Ms. Elizabeth Parr Hecker
Mrs. Sunni LeBeouf
Mr. Freeman R. Matthews
Ms. Carol L. Michel
Ms. Inemesit U. O’Boyle
Ms. Stephanie Michelle Poucher
Mrs. Laura Cannizzaro Rodrigue
Mr. Harry A. Rosenberg
Ms. Donesia D. Turner
Mr. Darren Paul Tyus
Ms. Emily M. Washington
Mr. James McClendon Williams
Mr. Walter Rimmer Woodruff Jr.
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                              Case No. 21-30072



                IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT


KENT ANDERSON; STEVEN DOMINICK; ANTHONY GIOUSTAVIA; JIMMIE JENKINS;
 GREG JOURNEE; RICHARD LANFORD; LEONARD LEWIS; EUELL SYLVESTER;
                         LASHAWN JONES,
                                   Plaintiffs-Appellees

                         UNITED STATES OF AMERICA,
                                        Intervenor-Plaintiff-Appellee

                MARLIN N. GUSMAN, SHERIFF, ORLEANS PARISH,
                                      Defendant/Third-Party Plaintiff-
                                      Appellee

                                      V.

                           CITY OF NEW ORLEANS
                                       Third-Party Defendant-Appellant


                 On Appeal from the United States District Court
                      for the Eastern District of Louisiana
                                   No. 12-859


            UNOPPOSED MOTION TO SUPPLEMENT RECORD ON
            APPEAL BY THIRD-PARTY DEFENDANT-APPELLANT
                      THE CITY OF NEW ORLEANS




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         MAY IT PLEASE THE COURT:

         The City of New Orleans (the “City”), through undersigned counsel,

respectfully moves to supplement the appellate record in this case pursuant to Federal

Rule of Appellate Procedure 10(e) and Federal Rule of Appellate Procedure 27. The

City seeks to supplement the record with District Court electronic court filing (ECF)

entries numbered 1459 through 1464. These entries were filed after the record

lodged in the instant appeal and after Plaintiffs-Appellees’ two prior motions to

supplement were granted, but are germane to the matter currently pending before

this Court.

         On February 19, 2021, the City filed a Motion for Stay in the District Court,

which is included in the original record on appeal.1 On April 19, 2021, Plaintiffs-

Appellees filed a Motion to Supplement the Record with District Court ECF Nos.

1421-1433 consisting of pleadings and orders related to the City’s Motion for Stay.

Plaintiffs-Appellees’ Motion to Supplement was granted and the record was

supplemented with these docket entries on April 23, 2021. Plaintiffs-Appellees filed

a Second Motion to Supplement the Record with District Court ECF Nos. 1434-1458

also consisting of pleadings and orders related to the City’s Motion for Stay. The

Motion was granted and the record was supplemented with these docket entries on

July 19, 2021.


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        Since the Second Order to Supplement, subsequent pleadings, orders, and

transcripts related to the City’s Motion for Stay have not been included in the current

record because they were not filed in the District Court until after Plaintiffs-

Appellees’ second motion to supplement was granted. Specifically, on July 20, 2021,

the district court filed a transcript of the Status Conference held on March 8, 2021.2

Thereafter, on July 21, 2021, the District Court issued its Order adopting the

magistrate judge’s Report & Recommendation regarding the City’s Motion for

Stay.3 Further, on July 23, 2021, the City filed an additional status report and exhibits

related to the planning and construction of the Phase III facility, which is relevant to the

appeal pending before this Court.4 Moreover, the District Court having denied the

City’s Motion for Stay, the City intends to move this Court for a Stay of the District

Court’s orders pending the outcome of the instant appeal. Because a denial by the

District Court is a prerequisite for filing such a motion before this Court, the District

Court’s order denying the City’s Motion for Stay should be included in this Court’s

Record on Appeal.

        Federal Rule of Appellate Procedure 10(e)(2) provides “[i]f anything material

to either party is omitted from or misstated in the record by error or accident, the




2
  ECF Doc. No. 1462. The City’s completed Transcript Order Form regarding the March 8, 2021
   Status Conference transcript is attached hereto as Exhibit 1.
3
  ECF Doc. No. 1463.
4
  ECF Doc. No. 1464.


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omission or misstatement may be corrected and a supplemental record may be

certified and forwarded: (A) on stipulation of the parties; (B) by the district court

before or after the record has been forwarded; or (C) by the court of appeals.”

        The appellate record is incomplete without District Court pleadings, exhibits,

transcripts, and orders contained in ECF Nos. 1459-1464. These documents bear not

only on the procedural and/or jurisdictional propriety of the City’s appeal, but also

contain party representations and argument as to the merits of the City’s underlying

Motion for Relief from Court Orders. Additionally, these docket entries include the

City’s recent representations as to the progress of the Phase III facility, which is

germane to both the procedural posture of the City’s Motion for Relief in the District

Court, as well as the merits of the City’s arguments in support of that Motion. In

light of the accident of timing created by pending filing deadlines and scheduled

argument in the District Court, the City anticipates an additional motion to

supplement the record on similar basis may be necessary.

        For the foregoing reasons, Plaintiffs-Appellees respectfully request that this

Motion be granted and that the omission of relevant pleadings, orders, transcripts,

and exhibits from the record on appeal be remedied by this Court through

supplementation of the record with District Court ECF Nos. 1459-1464.



                                                     [signature block on next page]



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                                       Respectfully submitted,

                                        /s/ Harry Rosenberg
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                                       CITY ATTORNEY
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                                       Stephanie.Poucher@Phelps.com

                                       COUNSEL FOR:
                                       THE CITY OF NEW ORLEANS




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                       CERTIFICATE OF CONFERENCE


        I hereby certify that on August 3, 2021, I contacted counsel for the United

States of America, Sheriff Marlin N. Gusman, and the Plaintiff Class, each of whom

indicated they did not oppose to the City’s Motion to Supplement the Electronic

Record on Appeal. Accordingly, the City files this Motion as UNOPPOSED.


                                               /s/ Harry Rosenberg
                                              SUNNI J. LEBEOUF
                                              DONESIA D. TURNER
                                              CHURITA H. HANSELL
                                              OFFICE OF THE CITY ATTORNEY

                                              HARRY ROSENBERG
                                              STEPHANIE M. POUCHER
                                              PHELPS DUNBAR LLP

                                              COUNSEL FOR:
                                              THE CITY OF NEW ORLEANS




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                          CERTIFICATE OF SERVICE

        I hereby certify that on August 3, 2021, I electronically filed the above and

foregoing Motion with the Clerk of the Court using the CM/ECF system, which sent

notification of such filing to all counsel of record in this matter.


                                                  /s/ Harry Rosenberg
                                                 SUNNI J. LEBEOUF
                                                 DONESIA D. TURNER
                                                 CHURITA H. HANSELL
                                                 OFFICE OF THE CITY ATTORNEY

                                                 HARRY ROSENBERG
                                                 STEPHANIE M. POUCHER
                                                 PHELPS DUNBAR LLP

                                                 COUNSEL FOR:
                                                 THE CITY OF NEW ORLEANS




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                     CERTIFICATE OF COMPLIANCE
               WITH TYPE-VOLUME LIMITATION, TYPEFACE
             REQUIREMENTS AND TYPE STYLE REQUIREMENTS

        1.      This Motion complies with the type-volume limitation of Fed R. App.

P. 27 because, excluding the accompanying documents authorized by Rule

27(a)(2)(B), it contains 686 words.

        2.      This Motion complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in proportionally-spaced typeface, including serifs, using Word, in

Times New Roman 14-point font, except for the footnotes, which are in

proportionally-spaced typeface, including serifs, using Microsoft Word in Times

New Roman 12-point font.

                                                /s/ Harry Rosenberg
                                               SUNNI J. LEBEOUF
                                               DONESIA D. TURNER
                                               CHURITA H. HANSELL
                                               OFFICE OF THE CITY ATTORNEY

                                               HARRY ROSENBERG
                                               STEPHANIE M. POUCHER
                                               PHELPS DUNBAR LLP

                                               COUNSEL FOR:
                                               THE CITY OF NEW ORLEANS

Dated: August 3, 2021




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NOLA Exhibit 1
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NOLA Exhibit 1
